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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CRIMINAL MINUTES - GENERAL

Case No. SACR 18-00046(A)-1-JLS Date March 3, 2023

 

 

Present: The Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

 

 

 

 

 

 

Interpreter
K. Pastrana Hernandez Myra Ponce Mark Takla
Deputy Clerk Court Reporter Assistant U.S. Attorney
U.S.A. v. Defendant(s): Present Cust. Bond Attorneys for Defendants: Present App. Ret.
1) Johnny Paul Tourino Xx Xx Jessica Munk X X

PROCEEDINGS: CHANGE OF PLEA

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Ix

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Defendant moves to change plea to the Information. Waiver of Indictment previously filed;
Court enters findings and accepts the Waiver as filed.

Defendant sworn, and states true name as charged.

Defendant enters new and different plea of GUILTY to Count 1 of the Information.

The Court questions the defendant regarding plea of GUILTY and FINDS that a factual basis
has been laid, and further FINDS the plea is knowledgeable and voluntarily made. The Court
ORDERS the plea accepted and entered.

The Court further ORDERS the Plea Agreement incorporated into this proceeding.

The Court refers the defendant to the Probation Office for investigation and pre-sentencing
report, and the matter is continued to October 13, 2023, at 1:30 p.m. for sentencing. Further,
sentencing position papers are to be filed with the Court no later than two (2) weeks before the
date of sentencing, including service on the assigned U.S. Probation Officer.

The Status Conference and Jury Trial dates are ordered to NOT BE VACATED.

The Court ORDERS the defendant remain on bond under the same terms and conditions as
previously set.

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Initials of Deputy Clerk kmh

 

 

 

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